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               UKITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION



In re: Equifax Inc. Customer               MDL Docket No 2800
Data Security Breach Litigation            No. 1 :17-md-2800-TWT

                                               CONSUMER ACTIONS

                                               Chief Judge Thomas W. Thrash, Jr.

                                               Fairness Hearing Date 12/19/19




   MOTION TO REMOVE CLASS COUNSEL, THE STEERING

   COMMITTEE, JND LEGAL ADMINISTRATION, NAMED

   PLAINTIFFS AND DEFENSE COUNSEL FOR MISCONDUCT




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Defense counsel should be removed and ordered to forfeit the fees they have been paid

by Equifax for their part in this scheme by returning those fees not back to the

defendant, but rather depositing the fees into the Consumer Restitution Fund for the

benefit of the class. The court can also remove all of them sua sponte on 11/19/19.

Also, the parties have colluded and deleted some of the cookies in numerous sections

on the class website on Sunday November 30, 2019 that I pointed out in my objection

which I will discuss at the hearing. The cover-up continues.

I certify under penalty of perjury of the United States that all of the above is true and

accurate to the best of my knowledge.


Christopher Andrews, Pro se objector, P.O. Box 530394 Livonia, MI 48153-0394            B:

caaloa~gmail.com P: 248-635-3810 December 05, 2019

                                 Proof of Service

I certify under penalty of perjury that on this day December 05, 2019 the objector

mailed one copy of this three page motion, not to the duplicitous, traitorous JND Legal

Administration, but rather directly to the court (which is where everything should have

been directed to in the first place) at the address below via Priority mail to the Clerk of

the Court, Richard B. Russell Federal Building, United States District Court for the

Northern Dis        ~ Ste 2211, Atlanta, Georgia

30303-3309.       istophe Andrews, Pro se objector, P.O. Box 530394 Livonia, IV11

48153-0394 B: caaloa~gmail.com P: 248-635-3810            December 05, 2019
                                            Page 3 of 3
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                     Exhibit 1
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                                 UNITED STATES POSTAL SERVICE

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                                       Sender Please print your name, address, and ZIP+4e In this box

                                                     Christopher Andrews
                                                     P0 Box 530394
                                                     Livonia, MI 48153-0394


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          or on the front if space permks. —
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                                                                      If YES, enter delivery address below:      LI No
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          Attn: Objection
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        M Gmail                                                                              caaloa <caaIoa~gmail.com>
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        USPS© Item Delivered, P0 Box 70171450000125522361
        1 message

        auto-reply@usps.com <auto-reply©usps.com>                                               Fri1 Nov 22, 2019 at 1:14 PM
        To: caaloa©gmail.com




             Hello chris Equifax obj,

             Your item has been delivered and is available at a PC Box at 8:30
             am on November 22, 2019 in SEATTLE, WA 98111.
             Tracking Number: 70171450000125522361


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                                              Tracking & Delivery Options

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             Visit USPS Tracking® to check the most up-to-date status of your package. Sign up for Informed Delivery® to
             digitally preview the address side of your incoming letter-sized mail and manage your packages scheduled to
             arrive soon! To update how frequently you receive emails from USPS, log in to your USPS.com account.
             Want regular updates on your package? Setup text alerts.




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         (~1 crnaii                                                                         caaloa <caaloa@gmail.com>


         Ticket#4123791FW: Missing Objection Equifax Inc. Consumer Data Breach-
         Priority High Has Been Updated
                                  --


         2 messages
                                                                                                 Wed, Nov 27, 2019 at 2:20
         Equifax Breach Settlement Administrator <info~equifaxbreachsettlement.com>                                    PM
         To: caaloa~gmail.com


          --REPLY above this line to respond--
          Your ticket 412379- FW: Missing Objection Equifax Inc. Consumer Data Breach- Priority High, has been
          updated.
           Dear Christopher,

          Thank you for your email.

          We have received your Objection letter and it is being processed.

           Regards,
           Equifax Data Breach Settlement Administrator




         caaloa <caaloa@gmail.com>                                                      Wed, Nov 27, 2019 at 6:40 PM
         To: Equifax Breach Settlement Administrator <info~equifaxbreachsettIement.com>

          Since you filed to honor my request, costing me a lot of hours and money, I will take this up with the court and.
          others.
           [Quoted text hidden]




                                                                                                                   12/4/2019, 11:24AM
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                     Exhibit 2
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From the settlement agreement:

14.1.3 Establishing and maintaining a post office box for mailed written objections

and notifications of exclusion from the Settlement Class

14.1.10 Processing all objections and requests for exclusion from the Settlement


Class 14.1.12 Receiving requests for exclusion and objections from Settlement

Class Members and promptly providing copies thereof to Class Counsel and

Defendants’ Counsel
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